                        UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

IN RE:                                                 Case No. 20-51066-mar

HFV LIQUIDATING TRUST,                                 Chapter 11

                        Debtor.                        Honorable Mark A. Randon



        ORDER SUSTAINING THIRD OMNIBUS OBJECTION
     OF THE HFV LIQUIDATING TRUST TO (A) AMENDED OR
  SUPERSEDED CLAIMS, (B) DUPLICATE CLAIMS, (C) CERTAIN NO
      LIABILITY CLAIMS, AND (D) CLAIMS TO BE MODIFIED

         Upon the objection (the “Third Objection”) of the HFV Liquidating Trust (the “Trust”),

for entry of an order (this “Order”), (a) disallowing the Claims as set forth on Schedules 13

attached hereto, and (b) modifying and/or reclassifying the claims listed on Schedule 4 attached

hereto as more fully set forth in the Third Objection; and this Court having jurisdiction over this

matter pursuant to 28 U.S.C. §§ 157 and 1334; and that this Court may enter a final order

consistent with Article III of the United States Constitution; and this Court having found that

venue of this proceeding and the Objection in this district is proper pursuant to 28 U.S.C. §§

1408 and 1409; and this Court having found that the relief requested in the Third Objection is in

the best interests of the Trust, its creditors, and other parties in interest; and this Court having

found that the Trust’s notice of the Third Objection and opportunity for a hearing on the Third

Objection were appropriate under the circumstances and no other notice need be provided; and

this Court having reviewed the Third Objection and having heard the statements in support of the

relief requested therein at a hearing before this Court (the “Hearing”); and this Court having

determined that the legal and factual bases set forth in the Third Objection and at the Hearing




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establish just cause for the relief granted herein; and upon all of the proceedings held before this

Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

ORDERED THAT:

       1.      The Third Objection is sustained as set forth herein.

       2.      The Amended Claims set forth on the attached Schedule 1 are hereby

disallowed and expunged in their entirety; provided that this Order will not affect

the Proofs of Claim identified on Schedule 1 attached hereto in the column titled

“Remaining Claims.”

       3.      The Duplicate Claims set forth on the attached Schedule 2 are hereby

disallowed and expunged in their entirety; provided that this Order will not affect

the Proofs of Claim identified on Schedule 2 attached hereto in the column titled

“Remaining Claims.”

       4.      The No Liability Claims set forth on Schedule 3 are disallowed and

expunged in their entirety.

       5.      The Modified Claims are hereby modified as reflected in the column

titled “Modified Claims” on Schedule 4 to this Order. The Modified Claims will

remain on the claims register maintained by the Trust (the “Claims Register”) and

such Claims and remain subject to future objection on any basis.

       6.      Each objection by the Trust to each Claim addressed in the Third

Objection as identified in Schedules 1–4 constitutes a separate contested matter as

contemplated by Bankruptcy Rule 9014. This Order shall be deemed a separate


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order with respect to each Claim. Any stay of this Order pending appeal by any

claimant subject to this Order shall only apply to the contested matter that involves

such claimant and shall not act to stay the applicability or finality of this Order with

respect to the other contested matters covered hereby.

         7.   The Trust’s claims agent is authorized and directed to modify the

Claims Register in accordance with entry of the relief granted in this Order.

         8.   Nothing in this Order shall affect the Trust’s right to object to the

Claims or any other Proofs of Claim at a future date on any basis.

         9.   Notwithstanding the relief granted in this Order and any actions taken

pursuant to such relief, nothing in this Order shall be deemed: (a) an admission as to

the validity, priority, or amount of any particular claim; (b) a waiver of the Trust’s

right to dispute any particular claim on any grounds; (c) a promise or requirement to

pay any particular claim; (d) an implication or admission that any particular claim is

of a type specified or defined in this Order or the Third Objection; (e) a request or

authorization to assume any agreement, contract, or lease pursuant to section 365 of

the Bankruptcy Code; or (f) a waiver or limitation of the Trust’s rights under the

Bankruptcy Code or any other applicable law. Any payment made pursuant to this

Order should not be construed as an admission as to the validity, priority, or amount

of any particular claim or a waiver of the Trust’s right to subsequently dispute such

claim.



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      10.    The Trust is authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Third Objection.

      11.    This Court retains exclusive jurisdiction with respect to all matters

arising from or related to the implementation, interpretation, and enforcement of this

Order.




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                                                                                                                 Schedule 1
                                                                                                               Amended Claims


    Claim to be Disallowed                                                                                                                                              Remaining Claim                                                  Reasoning
    Name of Claimant           Debtor Name                Schedule #   Claim #   Date Filed        Claim Amounts                Name of Claimant   Debtor Name                Claim # Date Filed         Claim Amounts                  for Objection
1   IN RE: RESIDENT ID 20162   Henry Ford Village, Inc.    2377989       220     3/24/2021                Administrative: $0.00 ARGO PARTNERS      Henry Ford Village, Inc.     229     3/30/2021              Administrative: $0.00   Amended Claim
    [NAME REDACTED]                                                                                            Secured: $0.00                                                                                       Secured: $0.00
                                                                                                                Priority: $0.00                                                                                      Priority: $0.00
                                                                                               General Unsecured: $150,052.17                                                                       General Unsecured: $150,052.17

                                                                                                            Total: $150,052.17                                                                                   Total: $150,052.17



    TOTALS                                                                                                        $150,052.17                                                                                          $150,052.17




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                                                                                                                     Schedule 2
                                                                                                                   Duplicate Claims


    Claim to be Disallowed                                                                                                                                                Remaining Claim                                                     Reasoning
    Name of Claimant           Debtor Name                Schedule #   Claim #   Date Filed      Claim Amounts                Name of Claimant           Debtor Name               Claim #   Date Filed      Claim Amounts                   for Objection
1   IN RE: RESIDENT ID 22916   Henry Ford Village, Inc.                  365     11/22/2021             Administrative: $0.00 IN RE: RESIDENT ID 21036   Henry Ford Village, Inc.    408      1/6/2022              Administrative: $0.00   Duplicate Claim
    [NAME REDACTED]                                                                                          Secured: $0.00 [NAME REDACTED]                                                                              Secured: $0.00
                                                                                                              Priority: $0.00                                                                                             Priority: $0.00
                                                                                              General Unsecured: $44,358.89                                                                               General Unsecured: $44,358.89

                                                                                                           Total: $44,358.89                                                                                            Total: $44,358.89


2   IN RE: RESIDENT ID 22002   Henry Ford Village, Inc.                 190       3/5/2021              Administrative: $0.00 IN RE: RESIDENT ID 22002   Henry Ford Village, Inc.    193     3/5/2021               Administrative: $0.00   Duplicate Claim
    [NAME REDACTED]                                                                                          Secured: $0.00 [NAME REDACTED]                                                                              Secured: $0.00
                                                                                                              Priority: $0.00                                                                                             Priority: $0.00
                                                                                              General Unsecured: $78,075.00                                                                               General Unsecured: $78,075.00

                                                                                                           Total: $78,075.00                                                                                            Total: $78,075.00


3   IN RE: RESIDENT ID 22133   Henry Ford Village, Inc.                  66       1/4/2021              Administrative: $0.00 IN RE: RESIDENT ID 22133   Henry Ford Village, Inc.    129     2/15/2021              Administrative: $0.00   Duplicate Claim
    [NAME REDACTED]                                                                                          Secured: $0.00 [NAME REDACTED]                                                                              Secured: $0.00
                                                                                                              Priority: $0.00                                                                                             Priority: $0.00
                                                                                              General Unsecured: $19,717.80                                                                               General Unsecured: $19,717.80

                                                                                                           Total: $19,717.80                                                                                            Total: $19,717.80



    TOTALS                                                                                                     $142,151.69                                                                                                  $142,151.69




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                                                                                        Schedule 3
                                                                                     No Liability Claims
    Name of Claimant            Debtor Name                   Schedule #   Claim #    Date Filed       Current Claim Amounts                Proposed Treatment          Reason for Objection
1   IN RE: RESIDENT ID 21355    Henry Ford Village, Inc.                     310      4/22/2021                  Administrative: $0.00       Disallow & Expunge    No Liability. Trust's records reflect
    [NAME REDACTED]                                                                                                   Secured: $0.00                               that Claimant executed the lease
                                                                                                                       Priority: $0.00                             addendum with Purchaser of HFV
                                                                                                       General Unsecured: $46,859.25                              which waived a right to claim against
                                                                                                                                                                                  Trust.
                                                                                                                       Total: $46,859.25


2   IN RE: RESIDENT ID 22561    Henry Ford Village, Inc.                     417       3/9/2022                  Administrative: $0.00      Disallow & Expunge      No Liability - Late-Filed and No
    [NAME REDACTED]                                                                                                   Secured: $0.00                                      Record of Liability
                                                                                                                       Priority: $0.00
                                                                                                       General Unsecured: $49,000.00

                                                                                                                       Total: $49,000.00


3   IN RE: RESIDENT ID 21934    Henry Ford Village, Inc.                     287       4/19/2021                    Administrative: $0.00   Disallow & Expunge    No Liability. Following a reasonable
    [NAME REDACTED]                                                                                                      Secured: $0.00                            review of the Debtor's books and
                                                                                                                      Priority: $3,025.00                              records and the documents
                                                                                                           General Unsecured: $2,651.00                           attached the claim, the Trust has no
                                                                                                                                                                    record of liability asserted by this
                                                                                                                         Total: $5,676.00                                          claim.


4   IN RE: RESIDENT ID 20882    Henry Ford Village, Inc.       2378194                                              Administrative: $0.00   Disallow & Expunge    No Liability - Security Deposit Held
    [NAME REDACTED]                                                                                                      Secured: $0.00                                in a Segregated Account
                                                                                                                          Priority: $0.00                          Transferred to Purchaser of HFV
                                                                                                           General Unsecured: $7,899.00

                                                                                                                         Total: $7,899.00


5   IN RE: RESIDENT ID 22950    Henry Ford Village, Inc.       2379685       379      12/17/2021                 Administrative: $0.00      Disallow & Expunge    No Liability. Following a reasonable
    [NAME REDACTED]                                                                                                   Secured: $0.00                               review of the Debtor's books and
                                                                                                                       Priority: $0.00                                 records and the documents
                                                                                                      General Unsecured: $120,000.00                              attached the claim, the Trust has no
                                                                                                                                                                    record of liability asserted by this
                                                                                                                      Total: $120,000.00                                           claim.


6   IN RE: RESIDENT ID 21537    Henry Ford Village, Inc.       2378261                                              Administrative: $0.00   Disallow & Expunge    No Liability - Security Deposit Held
    [NAME REDACTED]                                                                                                      Secured: $0.00                                in a Segregated Account
                                                                                                                          Priority: $0.00                          Transferred to Purchaser of HFV
                                                                                                           General Unsecured: $1,000.00

                                                                                                                         Total: $1,000.00




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                                                                                        Schedule 3
                                                                                     No Liability Claims
    Name of Claimant            Debtor Name                   Schedule #   Claim #    Date Filed       Current Claim Amounts                Proposed Treatment          Reason for Objection
7   IN RE: RESIDENT ID 22964    Henry Ford Village, Inc.                     411      1/14/2022                  Administrative: $0.00       Disallow & Expunge   No Liability - Security Deposit Held
    [NAME REDACTED]                                                                                                    Secured: $0.00                                  in a Segregated Account
                                                                                                                    Priority: $3,025.00                            Transferred to Purchaser of HFV
                                                                                                          General Unsecured: $998.00

                                                                                                                         Total: $4,023.00


8   IN RE: RESIDENT ID 21934    Henry Ford Village, Inc.                     260       4/11/2021                    Administrative: $0.00   Disallow & Expunge    No Liability. Following a reasonable
    [NAME REDACTED]                                                                                                      Secured: $0.00                            review of the Debtor's books and
                                                                                                                      Priority: $3,025.00                              records and the documents
                                                                                                           General Unsecured: $2,651.00                           attached the claim, the Trust has no
                                                                                                                                                                    record of liability asserted by this
                                                                                                                         Total: $5,676.00                                          claim.


9   IN RE: RESIDENT ID 21539    Henry Ford Village, Inc.       2378268                                              Administrative: $0.00   Disallow & Expunge    No Liability - Security Deposit Held
    [NAME REDACTED]                                                                                                      Secured: $0.00                                in a Segregated Account
                                                                                                                          Priority: $0.00                          Transferred to Purchaser of HFV
                                                                                                           General Unsecured: $1,000.00

                                                                                                                         Total: $1,000.00


10 IN RE: RESIDENT ID 22389     Henry Ford Village, Inc.       2379764                                              Administrative: $0.00   Disallow & Expunge    No Liability - Security Deposit Held
   [NAME REDACTED]                                                                                                       Secured: $0.00                                in a Segregated Account
                                                                                                                          Priority: $0.00                          Transferred to Purchaser of HFV
                                                                                                           General Unsecured: $3,496.00

                                                                                                                         Total: $3,496.00


11 IN RE: RESIDENT ID 21222     Henry Ford Village, Inc.       2379777       386      12/21/2021                    Administrative: $0.00   Disallow & Expunge     No Liability. Trust's records reflect
   [NAME REDACTED]                                                                                                       Secured: $0.00                            that Claimant executed the lease
                                                                                                                      Priority: $3,025.00                          addendum with Purchaser of HFV
                                                                                                           General Unsecured: $3,597.89                           which waived a right to claim against
                                                                                                                                                                                  Trust.
                                                                                                                         Total: $6,622.89


12 IN RE: RESIDENT ID 21534     Henry Ford Village, Inc.       2380045                                              Administrative: $0.00   Disallow & Expunge    No Liability - Security Deposit Held
   [NAME REDACTED]                                                                                                       Secured: $0.00                                in a Segregated Account
                                                                                                                          Priority: $0.00                          Transferred to Purchaser of HFV
                                                                                                           General Unsecured: $3,496.00

                                                                                                                         Total: $3,496.00




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                                                                                    Schedule 3
                                                                                 No Liability Claims
   Name of Claimant            Debtor Name                Schedule #   Claim #    Date Filed      Current Claim Amounts                 Proposed Treatment         Reason for Objection
13 IN RE: RESIDENT ID 22401    Henry Ford Village, Inc.                  336       7/1/2021                  Administrative: $0.00       Disallow & Expunge      No Liability – Not the Named
   [NAME REDACTED]                                                                                                Secured: $0.00                                 Beneficiary Under Residency
                                                                                                                   Priority: $0.00                                        Agreement
                                                                                                  General Unsecured: $104,975.80

                                                                                                                  Total: $104,975.80


14 IN RE: RESIDENT ID 20429    Henry Ford Village, Inc.    2379945      377        2/10/2021                 Administrative: $0.00      Disallow & Expunge     No Liability. Trust's records reflect
   [NAME REDACTED]                                                                                                Secured: $0.00                               that Claimant executed the lease
                                                                                                                   Priority: $0.00                             addendum with Purchaser of HFV
                                                                                                   General Unsecured: $93,000.00                              which waived a right to claim against
                                                                                                                                                                              Trust.
                                                                                                                   Total: $93,000.00


15 IN RE: RESIDENT ID 22094    Henry Ford Village, Inc.    2377942                                             Administrative: $0.00    Disallow & Expunge     No Liability. Trust's records reflect
   [NAME REDACTED]                                                                                                  Secured: $0.00                             that Claimant executed the lease
                                                                                                                     Priority: $0.00                           addendum with Purchaser of HFV
                                                                                                        General Unsecured: $977.97                            which waived a right to claim against
                                                                                                                                                                              Trust.
                                                                                                                      Total: $977.97


16 IN RE: RESIDENT ID 21542    Henry Ford Village, Inc.    2378290                                              Administrative: $0.00   Disallow & Expunge    No Liability - Security Deposit Held
   [NAME REDACTED]                                                                                                   Secured: $0.00                                in a Segregated Account
                                                                                                                      Priority: $0.00                          Transferred to Purchaser of HFV
                                                                                                       General Unsecured: $1,000.00

                                                                                                                     Total: $1,000.00



   TOTALS                                                                                                               $454,701.91




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                                                                                       Schedule 4
                                                                                  Claims to be Modified

    Name of Claimant           Debtor Name                 Schedule #   Claim #   Date Filed    Current Claim Amounts               Proposed Claim Amounts              Reason for Objection
1   IN RE: RESIDENT ID 21277   Henry Ford Village, Inc.                   128     2/15/2021                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
    [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                                 Priority: $0.00                    Priority: $0.00
                                                                                                General Unsecured: $110,500.00      General Unsecured: $45,490.00

                                                                                                             Total: $110,500.00                   Total: $45,490.00


2   IN RE: RESIDENT ID 22603   Henry Ford Village, Inc.     2379731       405      1/5/2022               Administrative: $0.00               Administrative: $0.00   Reduce and/or Reclassify per
    [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                          Priority: $548,000.00                     Priority: $0.00
                                                                                                      General Unsecured: $0.00     General Unsecured: $129,000.00

                                                                                                             Total: $548,000.00                 Total: $129,000.00



3   IN RE: RESIDENT ID 20328   Henry Ford Village, Inc.                   174      3/2/2021                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
    [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                             Priority: $3,025.00                    Priority: $0.00
                                                                                                General Unsecured: $143,975.00     General Unsecured: $132,000.00

                                                                                                             Total: $147,000.00                 Total: $132,000.00



4   IN RE: RESIDENT ID 21815   Henry Ford Village, Inc.     2378241       146     2/18/2021                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
    [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                                 Priority: $0.00                    Priority: $0.00
                                                                                                 General Unsecured: $99,000.00      General Unsecured: $91,080.00

                                                                                                               Total: $99,000.00                  Total: $91,080.00


5   IN RE: RESIDENT ID 22002   Henry Ford Village, Inc.     2378269       193      3/5/2021                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
    [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                                 Priority: $0.00                    Priority: $0.00
                                                                                                 General Unsecured: $78,075.00      General Unsecured: $76,765.00

                                                                                                               Total: $78,075.00                  Total: $76,765.00


6   IN RE: RESIDENT ID 20397   Henry Ford Village, Inc.                   62      12/23/2020               Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
    [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                             Priority: $3,025.00                    Priority: $0.00
                                                                                                General Unsecured: $143,575.00     General Unsecured: $146,600.00

                                                                                                             Total: $146,600.00                 Total: $146,600.00




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                                                                                       Schedule 4
                                                                                  Claims to be Modified

    Name of Claimant           Debtor Name                 Schedule #   Claim #   Date Filed    Current Claim Amounts               Proposed Claim Amounts              Reason for Objection
7   IN RE: RESIDENT ID         Henry Ford Village, Inc.                   182      3/1/2021               Administrative: $0.00               Administrative: $0.00   Reduce and/or Reclassify per
    [NAME REDACTED]                                                                                             Secured: $0.00                    Secured: $0.00      Debtor's Books and Records
                                                                                                             Priority: $3,025.00                    Priority: $0.00
                                                                                                   General Unsecured: $239.00        General Unsecured: $3,264.00

                                                                                                                Total: $3,264.00                   Total: $3,264.00


8   IN RE: RESIDENT ID 22206   Henry Ford Village, Inc.     2377968       284     4/19/2021                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
    [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                             Priority: $3,025.00                    Priority: $0.00
                                                                                                 General Unsecured: $56,725.00      General Unsecured: $22,048.84

                                                                                                               Total: $59,750.00                  Total: $22,048.84


9   IN RE: RESIDENT ID 22232   Henry Ford Village, Inc.                   241      4/5/2021                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
    [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                             Priority: $3,025.00                    Priority: $0.00
                                                                                                General Unsecured: $175,975.00     General Unsecured: $149,767.08

                                                                                                             Total: $179,000.00                 Total: $149,767.08



10 IN RE: RESIDENT ID 20942    Henry Ford Village, Inc.     2378205       393     12/28/2021               Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                              Secured: $0.00                    Secured: $0.00      Debtor's Books and Records
                                                                                                             Priority: $3,025.00                    Priority: $0.00
                                                                                                  General Unsecured: $1,458.00       General Unsecured: $4,483.00

                                                                                                                Total: $4,483.00                   Total: $4,483.00


11 IN RE: RESIDENT ID 20977    Henry Ford Village, Inc.                   307     4/21/2021                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                              Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                                 Priority: $0.00                    Priority: $0.00
                                                                                                General Unsecured: $130,000.00     General Unsecured: $129,778.14

                                                                                                             Total: $130,000.00                 Total: $129,778.14



12 IN RE: RESIDENT ID 20197    Henry Ford Village, Inc.                   34      12/8/2020                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                              Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                                 Priority: $0.00                    Priority: $0.00
                                                                                                General Unsecured: $233,000.00     General Unsecured: $207,509.45

                                                                                                             Total: $233,000.00                 Total: $207,509.45




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                                                                                      Schedule 4
                                                                                 Claims to be Modified

   Name of Claimant           Debtor Name                 Schedule #   Claim #   Date Filed    Current Claim Amounts               Proposed Claim Amounts              Reason for Objection
13 IN RE: RESIDENT ID 21145   Henry Ford Village, Inc.     2379769       390     12/27/2021              Administrative: $0.00               Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                            Priority: $3,025.00                    Priority: $0.00
                                                                                               General Unsecured: $96,975.00      General Unsecured: $100,000.00

                                                                                                            Total: $100,000.00                 Total: $100,000.00



14 IN RE: RESIDENT ID 22251   Henry Ford Village, Inc.                   312     4/20/2021                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                                Priority: $0.00                    Priority: $0.00
                                                                                                General Unsecured: $84,000.00      General Unsecured: $78,070.44

                                                                                                              Total: $84,000.00                  Total: $78,070.44


15 IN RE: RESIDENT ID 20064   Henry Ford Village, Inc.                   166     2/26/2021                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                                Priority: $0.00                    Priority: $0.00
                                                                                               General Unsecured: $152,250.00     General Unsecured: $152,000.00

                                                                                                            Total: $152,250.00                 Total: $152,000.00



16 IN RE: RESIDENT ID 21540   Henry Ford Village, Inc.     2380040       416     1/19/2022               Administrative: $0.00               Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                    Secured: $0.00      Debtor's Books and Records
                                                                                                            Priority: $1,000.00                    Priority: $0.00
                                                                                                     General Unsecured: $0.00       General Unsecured: $1,000.00

                                                                                                               Total: $1,000.00                   Total: $1,000.00


17 IN RE: RESIDENT ID 21194   Henry Ford Village, Inc.                   326     4/30/2021               Administrative: $0.00               Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                         Priority: $159,000.00                     Priority: $0.00
                                                                                                     General Unsecured: $0.00     General Unsecured: $159,000.00

                                                                                                            Total: $159,000.00                 Total: $159,000.00



18 IN RE: RESIDENT ID 20323   Henry Ford Village, Inc.                   226     3/25/2021                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                    Secured: $0.00      Debtor's Books and Records
                                                                                                                Priority: $0.00                    Priority: $0.00
                                                                                                General Unsecured: $85,000.00       General Unsecured: $9,802.21

                                                                                                              Total: $85,000.00                   Total: $9,802.21




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                                                                                      Schedule 4
                                                                                 Claims to be Modified

   Name of Claimant           Debtor Name                 Schedule #   Claim #   Date Filed    Current Claim Amounts               Proposed Claim Amounts              Reason for Objection
19 IN RE: RESIDENT ID 20427   Henry Ford Village, Inc.                   277     4/19/2021                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                            Priority: $3,025.00                    Priority: $0.00
                                                                                               General Unsecured: $128,975.00     General Unsecured: $120,152.74

                                                                                                            Total: $132,000.00                 Total: $120,152.74



20 IN RE: RESIDENT ID 20477   Henry Ford Village, Inc.                   234     3/31/2021                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                            Priority: $3,025.00                    Priority: $0.00
                                                                                               General Unsecured: $176,056.00     General Unsecured: $178,485.67

                                                                                                            Total: $179,081.00                 Total: $178,485.67



21 IN RE: RESIDENT ID 20253   Henry Ford Village, Inc.                   74      1/11/2021                Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                                Priority: $0.00                    Priority: $0.00
                                                                                               General Unsecured: $139,310.07     General Unsecured: $138,868.73

                                                                                                            Total: $139,310.07                 Total: $138,868.73



22 IN RE: RESIDENT ID 22138   Henry Ford Village, Inc.                   48      12/18/2020               Administrative: $0.00              Administrative: $0.00   Reduce and/or Reclassify per
   [NAME REDACTED]                                                                                             Secured: $0.00                     Secured: $0.00     Debtor's Books and Records
                                                                                                                Priority: $0.00                    Priority: $0.00
                                                                                               General Unsecured: $118,551.00      General Unsecured: $79,596.00

                                                                                                            Total: $118,551.00                   Total: $79,596.00



   TOTALS                                                                                                        $2,888,864.07                      $2,154,761.30




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